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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF LOUISIANA


DR. DOROTHY NAIRNE, JARRETT
LOFTON, REV. CLEE EARNEST LOWE, DR.
ALICE WASHINGTON, STEVEN HARRIS,
ALEXIS CALHOUN, BLACK VOTERS
MATTER CAPACITY BUILDING
INSTITUTE, and THE LOUISIANA STATE
                                                CIVIL ACTION NO. 3:22-cv-00178
CONFERENCE OF THE NAACP,
                                                SDD-SDJ
                           Plaintiffs,
                                                Dr. Handley Remedial Expert Report
      v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana

                           Defendant.




           Expert Report on Remedial Louisiana State House and Senate Plans
                                     Dr. Lisa Handley
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I.     Introduction
       Plaintiffs have introduced proposed state senate and state house remedial maps
(Remedial Maps), drawn by plaintiffs’ demography expert Bill Cooper, for consideration
by the Court. I have been asked to review the Remedial Maps to determine whether the
additional Black majority districts in these maps would provide Black voters with an
opportunity to elect their candidates of choice. Additionally, I have analyzed voting
patterns by race in the October and November 2023 elections as well as the November
2024 presidential election. Because voting in the four 2023 statewide elections that
included Black candidates and the 2024 presidential election was racially polarized, I
have updated the state legislative district effectiveness scores to include these contests.
       In addition to analyzing five statewide contests (the four 2023 contests that
included Black candidates and the presidential election in 2024), I also analyzed all of the
2023 state legislative elections (whether or not they included Black candidates) in the
districts in my seven areas of interest. In my initial reports in this matter, I designated
eight clusters of illustrative and enacted districts within seven areas of interest for
comparison purposes. Each of the three state senate clusters contained an additional
majority Black state senate district in the Illustrative Plan compared to the Enacted Plan.
The five state house clusters also included one additional majority Black district, except
for State House Cluster 5, which had two additional majority Black districts in the
Illustrative Plan. The districts within these clusters are relevant to the evaluation of the
proposed Remedial Maps because the changes between the Illustrative Plans and the
Remedial Maps are minor and do not affect either the parishes included in the seven areas
of interest previously analyzed or the state house and senate districts included in the eight
comparison clusters.
       While the effectiveness scores in some of the comparison districts changed, the
overall conclusion as to whether a district provided Black voters with an opportunity to
elect their candidates of choice, did not change. The Remedial Maps continue to offer
Black voters a greater opportunity to participate in the electoral system and elect
candidates of choice than the Enacted State House and Senate Plans.
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II.     Analysis of Voting Patterns by Race in the 2023 and 2024 Elections
        In my earlier reports, I presented the results of my analysis of voting patterns in 16 recent
statewide contests that included Black candidates and 22 recent biracial state legislative contests
in the seven areas of interest. 1 This report provides the results of my analysis of the 2023 state
legislative election contests in the districts in my eight comparison clusters, the four 2023
statewide election contests that included Black candidates, and the 2024 presidential election.
        Racial bloc voting analysis of the 2023 state legislative elections. There are 39 enacted
state legislative districts in the clusters. There were no contested state legislative contests in 2023
in 17 (43.6%) of these districts. 2 The estimates of Black and White support for the candidates
competing in the 22 contested state legislative elections can be found in Appendix A. Appendix
A1 reports the results of the October 2023 elections, and Appendix A2 reports the results of the
November 2023 runoff elections.
        Only six of the 22 contested state legislative elections analyzed were biracial. All six of
these contests were racially polarized. In addition, all contests that included both Democrats and
Republicans, including six contests in which all of the candidates running were White, were
racially polarized. Overall, 16 of the 22 state legislative contests (72.7%) were racially polarized.
The six contests that were not polarized were contests either in majority White districts with only
White Republicans competing for office (five district elections) or in majority Black districts
with only Black Democrats competing for office (one district election).
        There were November 2023 runoff elections in seven of the 22 districts. None of these
contests were biracial. Two of the contests included a White Democrat and a White Republican
and both were racially polarized. Two of the contests included only White Republicans, and they
were both polarized. Three of the contests included only Black Democrats (all in majority Black
districts) and these contests were not racially polarized.
        Racial bloc voting analysis of recent statewide elections. There were three October 2023
statewide elections that included Black candidates: Governor (Shawn Wilson), Lieutenant
Governor (Willie Jones and Elbert Guillory), and Secretary of State (Gwen Collins-Greenup and

1
 In my preliminary report (July 2022), I listed the results of 15 statewide contests and 20 biracial state
legislative contests. In the June 2023 report, I added the November 2022 race for the U.S. Senate and two
special state legislative contests.
2
 In 2023, there were no contested elections in State Senate Districts 9, 14, 15, and 16; and in State House
Districts 22, 3, 5, 8, 33, 35, 36, 59, 60, 61, 67, and 69.
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Arthur Morrell). One of the Black candidates in the October race for Secretary of State (Collins-
Greenup) made it to the November 2023 runoff. Appendix B provides the statewide estimates of
Black and White voter support for all of the candidates included in these four contests. 3
         All four of the 2023 election contests that included Black candidates were racially
polarized statewide. Black voters supported the Black candidate (or, if there was more than one
Black candidate, one of the Black candidates) in each of these contests. The candidates of choice
of Black voters statewide were, in the gubernatorial contest, Shawn Wilson; in the race for
lieutenant governor, Willie Jones; and in the election for Secretary of State (in both October and
November), Gwen Collins-Greenup. (In the October 2023 election for Secretary of State, the
other Black candidate, Arthur Morrell, was the second choice of Black voters.)
         The 2024 presidential election was racially polarized in Louisiana. Black voters
supported Kamala Harris and a large majority of White voters cast their votes for Donald Trump,
who easily carried the state. The estimates for this election contests can be found in Appendix B.


III.     Updated Effectiveness Scores
         Because the four 2023 statewide elections and the 2024 presidential election that I
analyzed were racially polarized, and the candidates preferred by Black voters were Black
candidates in all instances, I included those five contests in updated effectiveness scores.
         Effectiveness Score #1 is now calculated on the basis of the following 21 election
contests: the November 2024 race for U.S. President; the October 2023 Governor,
Lieutenant Governor, and Secretary of State contests; the November 2023 runoff for
Secretary of State; the November 2022 U.S. Senate contest; the November 2020 races for
U.S. President and U.S. Senate; the October 2019 Lieutenant Governor, Attorney
General, Secretary of State, and State Treasurer contests; the 2019 runoff for Secretary of
State; the November 2018 contest and the December 2018 runoff for Secretary of State;
the October 2017 contest and the November 2017 runoff for State Treasurer; the October
2015 Lieutenant Governor, Attorney General, and Secretary of State contests; and the
November 2015 runoff for Lieutenant Governor.



3
 Because the Court previously found that voting is racially polarized in all seven areas of interest, I did
not conduct an analysis of the statewide elections in each of the individual areas of interest.
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       Effectiveness Score #2 is now calculated on the basis of the subset of the ten two-
candidate contests: the November 2024 election for U.S. President, the November 2023
runoff for Secretary of State, the November 2020 race for U.S. President, the October
2019 Lieutenant Governor and Attorney General contests, the 2019 runoff for Secretary
of State, the December 2018 runoff for Secretary of State, the November 2017 runoff for
State Treasurer, the October 2015 Secretary of State contest, and the November 2015 runoff for
Lieutenant Governor.
       In addition to updated effectiveness scores, the cluster comparison tables also list the
name, race, and political party of the legislator representing the district as of the 2023 elections,
demonstrating how the districts actually performed in the recent elections. Bolded district
numbers indicate Enacted or Remedial Districts with Black majority voting age population.




          Comparison Table 1: State Senate Cluster 1 (Bossier and Caddo Parishes)


            Enacted     Effectiveness     Effectiveness      State Senator Elected in
            District      Score #1          Score #2                  2023
               36            0.0%             0.0%         Adam Bass (W, R)
               38           19.0%             0.0%         Thomas Pressly (W, R)
               39          100.0%            100.0%        Samuel L. Jenkins, Jr. (B, D)



                            Remedial       Effectiveness    Effectiveness
                             District        Score #1         Score #2
                                36              0.0%              0.0%
                                38            100.0%            100.0%
                                39             81.0%             70.0%
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 Comparison Table 2: State Senate Cluster 2 (Jefferson and St. Charles Parishes)


     Enacted      Effectiveness    Effectiveness       State Senator Elected
     District       Score #1         Score #2                 in 2023
         8           23.8%             0.0%         Patrick Connick (W, R)
         9           14.3%             0.0%         J. Cameron Henry, Jr. (W, R)
        10            0.0%             0.0%         Kirk Talbot (W, R)
        19           14.3%             0.0%         Gregory Miller (W, R)



                    Remedial       Effectiveness    Effectiveness
                     District        Score #1         Score #2
                        8              4.8%            0.0%
                        9             14.3%            0.0%
                       10              0.0%            0.0%
                       19             95.2%           100.0%



                 Comparison Table 3: State Senate Cluster 3
       (East and West Baton Rouge, Iberville, and Point Coupee Parishes)


       Enacted     Effectiveness    Effectiveness      State Senator Elected
       District      Score #1         Score #2                in 2023
           6            9.5%             0.0%        Rick Edmonds (W, R)
          14          100.0%           100.0%        Cleo Fields (B, D)
          15          100.0%           100.0%        Regina Barrow (B, D)
          16           14.3%            10.0%        Franklin Foil (W, R)



                    Remedial       Effectiveness    Effectiveness
                     District        Score #1         Score #2
                       14            100.0%           100.0%
                       15             90.5%            90.0%
                       16             14.3%            10.0%
                       17             81.0%            70.0%
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                   Comparison Table 4: State House Cluster 1
                 (DeSoto, Natchitoches, and Red River Parishes)


      Enacted      Effectiveness    Effectiveness      State Representative
      District       Score #1         Score #2            Elected in 2023
         7            14.3%             0.0%        Larry Bagley (W, R)
        22             0.0%             0.0%        Gabe Firment (W, R)
        25             0.0%             0.0%        Jason Dewitt (W, R)



                     Remedial      Effectiveness    Effectiveness
                     District        Score #1         Score #2
                       23             76.2%            70.0%




        Comparison Table 5: State House Cluster 2 (Calcasieu Parish)


      Enacted      Effectiveness    Effectiveness      State Representative
      District       Score #1         Score #2            Elected in 2023
        33            0.0%              0.0%        Les Farnum (W, R)
        34           100.0%            100.0%       Wilford Carter, Sr. (B, D)
        35            0.0%              0.0%        Brett Geymann (W, R)
        36            0.0%              0.0%        Phillip E. Tarver (W, R)



                    Remedial       Effectiveness    Effectiveness
                     District        Score #1         Score #2
                       33             0.0%             0.0%
                       34            100.0%           100.0%
                       35             0.0%             0.0%
                       36             0.0%             0.0%
                       38            100.0%           100.0%
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   Comparison Table 6: State House Cluster 3 (Bossier and Caddo Parishes)


      Enacted    Effectiveness   Effectiveness     State Representative
      District     Score #1        Score #2           Elected in 2023
         1          4.8%            0.0%         Danny McCormick (W, R)
         2         100.0%          100.0%        Steven Jackson (B, D)
         3         100.0%          100.0%        Tammy Phelps (B, D)
         4         100.0%          100.0%        Joy Walters (B, D)
         5          0.0%            0.0%         Dennis Bamburg (W, R)
         6          4.8%            0.0%         Michael Melerine (W, R)
         8          0.0%            0.0%         Raymond Crews (W, R)
         9          0.0%            0.0%         Dodie Horton (W, R)



                   Remedial      Effectiveness   Effectiveness
                    District       Score #1        Score #2
                        1            76.2%          60.0%
                        2           100.0%         100.0%
                        3            90.5%          80.0%
                        4           100.0%         100.0%
                        6             4.8%           0.0%
                        8             0.0%           0.0%
                        9             0.0%           0.0%
                       22             0.0%           0.0%
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  Comparison Table 7: State House Cluster 4 (Ascension and Iberville Parishes)


      Enacted     Effectiveness   Effectiveness      State Representative
      District      Score #1        Score #2            Elected in 2023
        59            9.5%            0.0%        Tony Bacala (W, R)
        60           38.1%           20.0%        Chad Brown (W, D)
        88            4.8%            0.0%        Kathy Edmonston (W, R)



                   Illustrative   Effectiveness   Effectiveness
                     District       Score #1        Score #2
                       59            9.5%            0.0%
                       60           100.0%          100.0%
                       88            4.8%            0.0%
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                          Comparison Table 8: State House Cluster 5
                        (East Baton Rouge and East Feliciana Parishes)


           Enacted     Effectiveness     Effectiveness         State Representative
           District      Score #1          Score #2               Elected in 2023
              61          100.0%            100.0%         C. Denise Marcelle (B, D)
              62           90.5%             90.0%         Roy Daryle Adams (W, D)
              63           95.2%            100.0%         Barbara West Carpenter (B, D)
              65            4.8%              0.0%         Lauren Ventrella (W, R)
              66            9.5%              0.0%         Emily Chenevert (W, R)
              67          100.0%            100.0%         Larry Selders (B, D)
              68           23.8%             10.0%         Dixon McMakin (W, R)
              69            9.5%              0.0%         Paula Davis (W, R)
              70           23.8%             10.0%         Barbara Reich Freiberg (W, R)
             101          100.0%            100.0%         Vanessa Caston LaFleur (B, D)



                            Remedial       Effectiveness    Effectiveness
                             District        Score #1         Score #2
                                 61            95.2%            100.0%
                                 62            23.8%             10.0%
                                 63            90.5%             90.0%
                                 65            85.7%             80.0%
                                 66             9.5%              0.0%
                                 67           100.0%            100.0%
                                 68            90.5%             90.0%
                                 69            81.0%             70.0%
                                 70             9.5%             10.0%
                                101            85.7%             80.0%



IV.     Conclusion
        My analysis demonstrates that the Remedial Maps would provide Black voters with
an opportunity to elect their candidates of choice in three additional Senate Districts and in
six additional House Districts compared to the Enacted Plans.
        Furthermore, my analysis of voting patterns by race in the 2023 and 2024 Louisiana
elections further supported my prior opinion that voting is racially polarized in the seven
areas of Louisiana that I examined. The Black community is cohesive in supporting their
preferred candidates and White voters consistently bloc vote to defeat these candidates.
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Racially polarized voting substantially impedes the ability of Black voters to elect candidates of
their choice to the Louisiana State Legislature in these areas. The Enacted State Senate and House
Plans dilute the voting strength of Black voters in Louisiana by failing to create additional districts
in these areas that offer Black voters an opportunity to elect their candidates of choice to the state
legislature.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the United
States of America that the foregoing is true and correct. Executed May 23, 2025.




________________________________
Lisa Handley, Ph.D.
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   Appendix A1                                         Estimates for Black Voters                     Estimates for White Voters
   Louisiana State
 Legislative Elections                             95%                                              95%
    October 2023                                 confidence                                       confidence
                          Party Race Vote EI RxC interval          EI 2x2     ER    HP     EI RxC interval        EI 2x2     ER    HP
 State Senate Elections
St Senate District 6
Rick Edmonds               R      W   61.5   61.4   51.5, 71.5      61.0     62.1    -      62.0   58.9, 64.9      61.4     62.7   59.6
Barry Ivey                 R      W   38.5   38.6   28.6, 48.6      38.5     38.5    -      38.0   35.1, 41.1      38.5     37.2   40.4
St Senate District 8
Patrick Connick            R      W   52.4   75.1   66.2, 83.3      78.8     77.3    -      46.7   43.2, 50.2      42.6     44.8   35.3
Timothy Kerner Jr.         R      W   47.6   24.9   16.7, 33.8      21.2     22.5    -      53.3   49.8, 56.8      57.4     55.2   64.7
St Senate District 9
J. Cameron Henry Jr.       R      W   69.9   19.8   7.3, 38.2       1.2        -     -      74.8   73.0, 76.1      76.5     78.5   74.7
Mary Anne Mushatt          D      W   30.1   80.3   61.8, 92.7      97.4       -     -      25.2   23.9, 27.0      23.4     21.4   25.3
St Senate District 19
Marilyn Bellock            D      B   31.2   91.2   88.0, 93.8      92.1     94.5   88.3    8.4    7.2, 9.9        7.7      8.6    11.5
Gregory A. Miller          R      W   68.8   8.8    6.2, 12.0       7.9      5.4    11.7    91.6   90.1, 92.8      92.3     91.4   88.5
St Senate District 36
Adam Bass                  R      W   62.0   53.5   45.2, 61.6      52.2     57.0   52.2    64.2   62.1, 66.3      64.3     63.6   63.7
Robert Mills               R      W   38.0   46.6   38.4, 54.8      47.7     43.0   47.8    35.8   33.7, 37.9      35.9     36.3   36.3
St Senate District 38
Chase Jennings             R      W   18.1   21.7   17.7, 25.8      23.5     24.8    -      16.5   15.0, 18.1      14.7     19.3   15.2
John Milkovich             R      W   25.8   51.6   46.6, 56.3      51.1     50.7    -      18.1   16.4, 19.9      17.9     19.0   19.9
Thomas A. Pressly          R      W   56.2   26.7   21.8, 31.9      23.4     24.8    -      65.3   63.5, 67.2      66.5     61.5   64.8
St Senate District 39
Cedric B. Glover           D      B   26.4   32.0   30.6, 33.4      32.2     32.7   30.9    17.4   15.3, 19.5      17.5     18.8   12.7
Samuel L. Jenkins Jr.      D      B   33.7   47.0   45.5, 48.4      47.6     46.9   46.2    13.3   11.4, 15.2      12.5     11.0   13.7
Barbara M. Norton          D      B   13.8   20.3   19.2, 21.3      21.2     22.0   21.2    2.3    1.3, 3.4        2.0      1.8    3.8
James Slagle               R      W   26.0   0.7    .4, 1.2         0.8      -1.5   1.7     67.1   65.5, 68.5      67.2     68.4   69.7

 State House Elections
St House District 1
Randall Liles              R      W   33.6   64.8   45.3, 81.8      60.4     63.1    -      25.4   20.7, 31.0      26.3     24.6   27.3
Danny McCormick            R      W   66.4   35.2   18.2, 54.7      39.0     37.6    -      74.6   69.0, 79.4      73.7     75.3   72.7
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   Appendix A1                                        Estimates for Black Voters                     Estimates for White Voters
   Louisiana State
 Legislative Elections                            95%                                              95%
    October 2023                                confidence                                       confidence
                         Party Race Vote EI RxC interval          EI 2x2     ER    HP     EI RxC interval        EI 2x2     ER    HP
St House District 2
Steven Jackson            D      B   51.5   50.7   47.9, 53.6      50.1     48.2   50.5    53.5   45.1, 61.8      57.0     54.6    -
Terence Vinson            D      B   48.5   49.3   46.4, 52.1      49.8     52.0   49.5    46.5   38.2, 54.9      43.0     45.6    -
St House District 4
Jasmine R. Green          D      B   33.2   36.8   31.3, 41.1        -      38.7   41.8    22.3   11.2, 34.3      19.0     16.3    -
Lyndon B. Johnson         D      B   32.8   29.4   25.0, 34.0        -      29.0   26.9    42.2   30.1, 54.2      44.3     46.9    -
Joy Walters               D      B   34.0   33.8   29.2, 38.4        -      32.2   31.3    35.5   23.3, 47.7      34.3     37.1    -
St House District 6
Robert Darrow             D      W   28.2   52.1   23.3, 77.7      68.0     68.9    -      25.7   23.0, 28.6      20.7     24.5   26.2
Evan McMichael            no     W    3.7   11.1   3.9, 19.8        1.4      0.5    -       1.5   .8, 2.4          4.0      4.1    4.0
Michael Melerine          R      W   68.1   36.8   11.5, 65.6      32.3     30.6    -      72.8   70.0, 75.5      70.2     71.4   69.8
St House District 7
Larry Bagley              R      W   61.2   63.5   57.1, 69.9      64.8     62.9   43.5    61.0   57.6, 64.2      62.7     62.5   62.8
Tim Pruitt                R      W   38.8   36.5   30.1, 42.9      35.4     36.8   56.5    39.1   35.8, 42.4      37.3     37.5   37.2
St House District 9
Dodie Horton              R      W   60.1   46.3   25.5, 68.4      47.2     41.6    -      62.9   58.5, 67.2      60.0     66.2   61.1
Chris Turner              R      W   39.9   53.7   31.6, 74.6      52.3     58.0    -      37.1   32.8, 41.5      40.0     33.9   38.9
St House District 25
Jason Dewitt              R      W   59.0   59.3   49.9, 68.7      57.7     57.1   53.6    58.4   56.0, 60.9      58.5     61.9   61.5
Patricia Leleux           R      W   41.0   40.7   31.3, 50.1      42.3     42.6   46.4    41.6   39.1, 44.0      41.5     38.1   38.5
St House District 34
Wilford Carter Sr.        D      B   62.2   74.0   71.5, 76.2      76.0     78.4   74.5    12.3   5.3, 21.4        6.3      5.5    -
Kevin D. Guidry           D      B   30.0   19.3   17.0, 22.0      16.0     14.3   18.0    77.7   67.3, 86.4      87.4     86.2    -
Franklin Lewis Sr.        D      B    7.9    6.6   4.9, 8.3         7.6      7.4    7.5    10.1   4.4, 16.4        8.0      8.5    -
St House District 62
Roy Daryl Adams           D      W   51.0   23.9   19.1, 29.5      21.5     16.5    9.6    83.2   76.7, 88.7      84.5     91.0   79.7
Daniel Banguel            D      B   20.4   27.9   22.3, 33.0      29.2     27.1   27.7    11.4   5.7, 17.9       10.6     12.7   14.3
Darius Lanus              D      B   28.7   48.2   44.1, 51.6      51.2     56.5   62.7     5.4   2.1, 10.0        2.8     -3.5    6.0
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   Appendix A1                                        Estimates for Black Voters                     Estimates for White Voters
   Louisiana State
 Legislative Elections                            95%                                              95%
    October 2023                                confidence                                       confidence
                         Party Race Vote EI RxC interval          EI 2x2     ER    HP     EI RxC interval        EI 2x2     ER    HP
St House District 63
Chauna Banks              D      B   33.3   46.1   43.0, 48.7      48.8     49.8   47.3     6.1   1.5, 12.3        1.3      0.0    -
Barbara West Carpenter    D      B   41.1   52.2   49.3, 55.3      52.5     51.6   51.1    16.9   10.7, 23.0      17.2     18.5    -
Christopher Lemoine       R      W   25.6    1.7   .5, 3.7          0.7     -1.4    1.6    77.0   72.0, 80.8      79.9     81.6    -
St House District 65
Brandon Ivey              R      W   32.1   38.4   28.0, 48.8      39.8     42.8    -      31.1   28.9, 33.5      31.9     30.1   30.9
Aaron Moak                R      W   18.5   15.1   7.5, 23.2       15.4     13.7    -      19.3   17.4, 21.1      19.3     19.6   19.4
Jamie Pope                R      W    7.4   10.7   5.0, 16.6       10.6     11.4    -       6.4   5.1, 7.7         6.6      6.7    7.4
Lauren Ventrella          R      W   27.7   24.6   15.0, 34.6      23.6     23.4    -      28.5   26.3, 30.7      28.5     28.7   28.0
Stephen Whitlow           R      W   14.3   11.2   4.9, 18.3        8.3      8.8    -      14.6   13.0, 16.2      15.3     14.8   14.2
St House District 66
Monique Appeaning         R      B   10.1   29.7   14.1, 44.3      39.7     39.1    -       6.4   3.8, 9.2         4.1      4.8    7.9
Emily Chenevert           R      W   32.0   19.2   6.2, 35.8       22.7     22.9    -      34.6   31.6, 37.1      34.4     36.3   32.1
Hollis Day                R      W   19.2   16.3   5.0, 31.0        6.3     10.3    -      19.7   17.0, 21.9      20.7     20.1   19.8
Richie Edmonds            R      W   27.3   16.0   4.2, 31.5       11.8      7.9    -      29.8   26.9, 32.2      30.3     29.6   29.6
Drew Maranto              R      W   11.4   18.8   6.4, 32.8       20.7     21.2    -       9.6   7.1, 11.9        9.3      9.1   10.6
St House District 68
Laura White Adams         R      W   30.8   14.4   5.8, 25.8        8.0      7.3    -      34.9   32.3, 37.1      36.1     35.5   34.8
Belinda Creel Davis       D      W   31.1   59.9   46.4, 71.7      76.7     73.7    -      25.7   23.0, 28.6      20.5     23.7   24.7
Robert Grodner Jr.        D      W    4.1   12.2   7.3, 16.9       12.4     12.8    -       1.5   .6, 2.7          2.2      2.4    2.6
Dixon McMakin             R      W   31.8   10.5   3.1, 19.7        4.2      3.3    -      36.5   34.4, 38.6      36.8     36.3   36.2
Parry Thomas              no     W    2.3    2.9   .9, 5.3          2.8      2.7    -       1.4   .9, 2.0          2.2      2.1    1.7
St House District 70
Brent Campanella          R      W   12.8    9.8   3.2, 18.9        6.3      5.9    -      12.7   10.5, 14.7      14.8     13.8   10.8
Barbara Reich Freiberg    R      W   38.9   23.4   13.6, 35.3      17.9     19.7    -      43.3   40.3, 46.0      45.2     43.0   46.4
Steve Myers               D      W   27.2   57.6   44.2, 70.0      76.7     73.7    -      20.7   17.6, 23.9      17.3     16.6   20.4
Jennie Seals              R      W   21.2    9.2   3.0, 18.1        2.6      2.0    -      23.3   20.9, 25.4      26.1     26.5   22.3
St House District 88
Kathy Edmonston           R      W   63.8   17.6   4.9, 36.8        4.8      4.7    -      69.8   67.2, 71.9      71.5     72.6   66.3
Willie Robinson           R      B   11.8   63.2   40.4, 80.3      73.6     80.7    -       5.6   3.3, 8.6         4.6      2.7    7.6
Donald Schexnaydre        R      W   24.4   19.2   5.7, 37.8       16.8     14.7    -      24.6   22.0, 26.7      25.4     24.7   26.1
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   Appendix A2                                         Estimates for Black Voters                     Estimates for White Voters
      Louisiana
   State Legislative                               95%                                              95%
   Runoff Elections                              confidence                                       confidence
   November 2023          Party Race Vote EI RxC interval          EI 2x2     ER    HP     EI RxC interval        EI 2x2     ER    HP
 State Senate Elections
St Senate District 39
Cedric B. Glover           D      B   34.7   32.8   31.1, 34.5      32.9     33.6   32.2    37.9   34.4, 41.3      38.5     40.8   32.4
Samuel L. Jenkins Jr.      D      B   65.3   67.2   65.5, 68.9      67.1     66.4   67.8    62.1   58.7, 65.6      61.5     59.5   67.6

 State House Elections
St House District 4
Jasmine R. Green           D      B   46.2   47.1   41.3, 52.9      40.2     49.8   50.8    41.9   24.2, 60.4      40.1     35.3    -
Joy Walters                D      B   53.8   52.9   47.4, 58.7      60.7     49.9   49.2    58.1   39.6, 75.8      60.2     64.2    -
St House District 63
Chauna Banks               D      B   35.8   41.5   36.3, 46.5      42.1     42.2   38.9    23.0   11.7, 34.9      21.7     23.0    -
Barbara West Carpenter     D      B   64.2   58.5   53.5, 63.7      57.9     57.7   61.1    77.0   65.1, 88.3      78.2     77.0    -
St House District 65
Brandon Ivey               R      W   43.3   53.4   31.3, 75.5      56.2     49.2    -      41.7   38.2, 45.2      41.8     42.4   43.8
Lauren Ventrella           R      W   56.7   46.6   24.5, 68.7      43.9     50.5    -      58.3   54.8, 61.8      58.1     57.8   56.2
St House District 66
Emily Chenevert            R      W   60.0   46.1   15.5, 80.0      52.2     47.1    -      62.5   57.4, 67.3      62.1     63.9   58.8
Richie Edmonds             R      W   40.0   53.9   20.0, 84.5      45.0     53.4    -      37.5   32.7, 42.6      38.0     36.2   41.2
St House District 68
Belinda Creel Davis        D      W   43.4   82.6   63.6, 95.8      99.5     96.7    -      35.5   32.2, 39.4      31.6     35.1   37.0
Dixon McMakin              R      W   56.6   17.4   4.2, 36.4       1.7      2.7     -      64.5   60.6, 67.8      68.4     64.7   63.0
St House District 70
Barbara Reich Freiberg     R      W   64.9   23.8   10.8, 41.1      13.9     11.5    -      73.6   69.8, 76.9      73.9     76.7   70.1
Steve Myers                D      W   35.1   76.2   58.9, 89.2      86.0     88.2    -      26.4   23.1, 30.2      26.1     23.3   29.9
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      APPENDIX B                                    Estimates for Black Voters                     Estimates for White Voters
       Louisiana
  Statewide Elections                            95%                                             95%
     2023 and 2024                             confidence                                      confidence
                        Party Race Vote EI RxC interval         EI 2x2     ER    HP     EI RxC interval        EI 2x2     ER    HP
       2023 October
Governor
Shawn Wilson             D    B    25.9   78.9   (78.4, 79.3)    78.0     81.1   76.9     7.7   (7.6, 8.0)       7.9      5.3    8.1
Jeff Landry              R    W    51.6    4.8   (4.5, 5.0)       4.9      1.9    6.6    69.2   (67.0, 69.3)    68.9     71.3   67.1
Stephen Waguespack       R    W     5.9    0.8   (.7, .9)         0.7      0.1    0.9     7.7   (7.6, 7.8)       7.5      7.4    7.6
John Schroder            R    W     5.3    0.8   (.7, .9)         0.7      0.1    0.7     6.9   (6.8, 7.0)       7.0      6.3    7.4
Hunter Lundy             I    W     4.9    3.4   (3.2, 3.6)       4.0      4.0    3.9     4.6   (4.5, 4.7)       5.4      5.2    5.3
Daniel Coles             D    W     2.6    7.7   (7.4, 7.8)       7.7      8.7    7.3     0.8   (.7, .9)         0.7      0.7    0.9
Others (9)                          3.8    3.8   (3.6, 3.9)       4.2      4.2    3.7     3.1   (2.9, 3.2)       3.7      3.8    3.7
Black turnout/BVAP                 24.3
White turnout/WVAP                 37.3
Lieutenant Governor
Willie Jones             D    B    20.5   67.6   (66.0, 68.1)    67.1     70.5   64.9     3.8   (3.5, 5.6)      4.8       3.2    5.5
Billy Nungesser          R    W    65.5   24.1   (23.6, 25.9)    22.0     21.3   27.2    81.0   (79.0, 81.4)    81.2     79.8   78.7
Elbert Guillory          R    B     6.2    3.7   (3.5, 3.9)       3.7      3.6    3.5     7.1   (7.0, 7.2)       7.1      7.8    7.0
Tami Hotard              R    W     4.9    1.7   (1.6, 1.9)       1.4      1.3    1.6     5.9   (5.8, 6.1)       6.3      6.4    6.0
Others                              2.9    3.0   (2.8, 3.2)       3.2      3.2    2.8     2.2   (2.1, 2.3)       2.8      2.8    2.8
Black turnout/BVAP                 24.3
White turnout/WVAP                 37.3
Secretary of State
Gwen Collins-Greenup     D    B    19.3   55.6   (47.8, 57.1)    58.0     58.2   55.4     6.7   (6.0, 9.7)       5.3      5.0    6.5
Nancy Landry             R    W    19.3    2.9   (2.5, 5.4)       2.2      1.9    3.4    25.3   (23.9, 25.7)    25.7     25.1   24.3
Mike Francis             R    W    17.9    2.7   (2.2, 5.3)       2.4      0.2    2.6    23.4   (21.7, 23.7)    23.6     27.0   25.0
Clay Schexnayder         R    W    14.7    2.7   (2.2, 5.1)       1.8      1.3    2.2    19.1   (18.0, 19.4)    19.5     18.3   18.5
Arthur Morrell           D    B    11.1   31.1   (29.6, 31.6)    33.2     35.3   32.3     3.3   (3.0, 5.0)      3.1       2.4    3.9
Thomas Kennedy           R    W    10.1    2.1   (1.8, 3.1)       1.6      1.3    1.9    13.2   (12.9, 13.3)    13.3     13.3   12.5
Brandon Trosclair        R    W     6.3    1.4   (1.1, 2.1)       0.3      0.2    0.8     8.3   (8.0, 8.4)       8.6      7.7    8.0
Amanda Jennings          O    W     1.3    1.5   (1.3, 1.6)       1.7      1.7    1.4     0.8   (.7, .8)         1.2      1.2    1.2
Black turnout/BVAP                 24.3
White turnout/WVAP                 37.3
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      APPENDIX B                                    Estimates for Black Voters                      Estimates for White Voters
       Louisiana
  Statewide Elections                            95%                                              95%
     2023 and 2024                             confidence                                       confidence
                        Party Race Vote EI RxC interval         EI 2x2     ER     HP     EI RxC interval         EI 2x2    ER    HP
     2023 November
Secretary of State
Gwen Collins-Greenup     D    B    33.2   95.0   (94.7, 95.4)    92.0     99.5    92.2    11.1   (10.9, 11.3)     12.9    10.4   13.2
Nancy Landry             R    W    66.8    5.0   (4.6, 5.3)       8.0      0.5     7.8    88.9   (88.7, 89.1)     87.0    89.6   86.8
Black turnout/BVAP                 15.0
White turnout/WVAP                 24.1

     2024 November
U.S. President
Kamala Harris            D    B    38.2   64.1   (55.9, 68.7)    95.5     101.0   93.2    30.2   (27.6, 36.4 0    13.5    10.4   13.1
Donald Trump             R    W    60.2   35.4   (30.8, 43.6)     4.4      -1.2    6.6    69.6   (63.3, 72.2)     86.4    89.2   86.5
Others                              1.6    0.5   (.45, .52)       0.2       0.2    0.2     0.2   (.20,.26)         0.3     0.4    0.3
Black turnout/BVAP                 51.0
White turnout/WVAP                 66.0
